        8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 1 of 21 - Page ID # 5
                                 Official Nebraska Government Website

                          Nebraska Judicial Branch

 Case Summary

  In the District Court of Sarpy County
  The Case ID is CI 22 0001762
                   Samuel Kimbril v. Source Media, LLC
  The Honorable George A Thompson, presiding.
  Classification: Miscellaneous Civil
  Filed on 10/13/2022
  This case is Open as of 10/13/2022




 Parties/Attorneys to the Case

            Party                                  Attorney
  Plaintiff ACTIVE
      Samuel Kimbril                               Michael F Polk
      11163 Prospect Street                        2712 South 87th Avenue
      Papillion          NE 68046                  Omaha              NE 68124
                                                   402-884-7444
  Defendant ACTIVE
      Source Media, LLC
      Corporation Service Company
      251 Littleton Falls Drive
      Wilmington          DE 19808
  Defendant ACTIVE
      Lynnley Browning
      2611 W Argyle St #2
      Chicago             IL 60625




 Court Costs Information
Incurred By          Account                                            Date               Amount

Plaintiff            Petition                                           10/13/2022         $35.00

Plaintiff            Automation Fee                                     10/13/2022          $8.00

Plaintiff            NSC Education Fee                                  10/13/2022          $1.00

Plaintiff            Dispute Resolution Fee                             10/13/2022          $0.75

Plaintiff            Indigent Defense Fee                               10/13/2022          $3.00

Plaintiff            Uniform Data Analysis Fee                          10/13/2022          $1.00

Plaintiff            J.R.F.                                             10/13/2022          $9.00

Plaintiff            Filing Fee-JRF                                     10/13/2022          $7.00

Plaintiff            Legal Aid/Services Fund                            10/13/2022          $6.25

Plaintiff            Comp Rec/Records Management                        10/13/2022         $15.00

Plaintiff            Service Fees                                       10/25/2022          $8.93

Plaintiff            Service Fees                                       10/25/2022          $8.09



 Financial Activity                                                                  EXHIBIT
                                                                                       A
          8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 2 of 21 - Page ID # 6
  No trust money is held by the court
  No fee money is held by the court




 Payments Made to the Court

Receipt      Type                       Date           For                             Amount

479718       Electronic Trans           10/13/2022     Kimbril,Samuel,                 $86.00

                                                       Petition                        $35.00

                                                       Automation Fee                   $8.00

                                                       NSC Education Fee                $1.00

                                                       Dispute Resolution Fee           $.75

                                                       Indigent Defense Fee             $3.00

                                                       Uniform Data Analysis            $1.00

                                                       J.R.F.                           $9.00

                                                       Filing Fee-JRF                   $7.00

                                                       Legal Aid/Services Fun           $6.25

                                                       Comp Rec/Records Manag          $15.00



 Register of Actions



  10/25/2022 Return Summons/Alias Summons
             The document number is 00245847
             Served 10/19/2022, Certified Mail
             Image ID N22298ANYD59


  10/25/2022 Return Summons/Alias Summons
             The document number is 00245846
             Served 10/18/2022, Certified Mail
             Image ID N22298ANKD59


  10/13/2022 Summons Issued on Lynnley Browning
             The document number is 00245847

     E-MAILED: polk@WPSlawfirm.com
             Image ID D00245847D59

  10/13/2022 Summons Issued on Source Media, LLC
             The document number is 00245846
     E-MAILED: polk@WPSlawfirm.com
             Image ID D00245846D59

  10/13/2022 Praecipe-Out St Summons/Alias
             This action initiated by party Samuel Kimbril
             Image ID N222860EED59

  10/13/2022 Complaint-Praecipe
             This action initiated by party Samuel Kimbril
             Image ID N222860DXD59
8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 3 of 21  - Page ID # 7
                                                          Filed in Sarpy District Court
                                                                                *** EFILED ***
                                                                       Case Number: D59CI220001762
                                                                         Transaction ID: 0019001711
                                                                  Filing Date: 10/13/2022 12:49:22 PM CDT
            IN THE DISTRICT COURT OF SARPY COUNTY, NEBRASKA

SAMUEL L. KIMBRIL,                               )   CI 22 -
                                                 )
       Plaintiff,                                )
                                                 )
vs.                                              )   COMPLAINT
                                                 )
SOURCE MEDIA, LLC,                               )
and LYNNLEY BROWNING,                            )
                                                 )
       Defendants.                               )


       THE PLAINTIFF, SAMUEL L. KIMBRIL, for his causes of action against the

Defendants, states and alleges as follows:

       1.      Plaintiff resides in Papillion, Sarpy County, Nebraska.

       2.      Defendant SOURCE MEDIA, LLC is a Delaware limited liability

company.

       3.       Defendant SOURCE MEDIA, LLC is a nationwide business information

company operating in print, online media, and marketing.

       4.      Defendant SOURCE MEDIA, LLC conducts business under the ARIZENT

brand name.

       5.      Defendant LYNNLEY BROWNING is an editor and writer for SOURCE

MEDIA, LLC.

       6.      On October 17, 2021, Defendants BROWNING and SOURCE MEDIA,

LLC wrote and published an article containing false, libelous, and defamatory statements

with respect to the Plaintiff SAMUEL KIMBRIL.




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       7.     The article is a published account of the alleged workplace interactions in

Omaha, Nebraska between Plaintiff KIMBRIL and another Nebraska resident named

Cortney Kotzian

       8.     The article outlined Ms. Kotzian’s work at and firing from TD

Ameritrade/Charles Schwab at that company’s Omaha, Nebraska location.

       9.     Ms. Kotzian’s published statements about her work at TD Ameritrade

directly violate her non-disclosure agreement with the company.

       10.    TD Ameritrade is an Omaha, Nebraska brokerage company.

       11.    The article at issue is published on the financial-planning.com website

owned and managed by Defendant SOURCE MEDIA, LLC.

       12.    The false and libelous comments include but are not limited to:

                  a. Mr. Kimbril is “Serial-Level Crazy”;

                  b. Allegations that Mr. Kimbril harassed Ms. Kotzian while employed

                      at TD Ameritrade;

                  c. Allegations of an arrest of Mr. Kimbril that place him in a false light;

                  d. Allegations that Mr. Kimbril threatened to physically assault Ms.

                      Kotzian;

                  e. Publishing information from usbondsman.com that place Mr.

                      Kimbril in a false light;

                  f. Assertions that Mr. Kimbril should be on a sex offender registry;

                  g. Assertions that Mr. Kimbril might have failed to properly report

                      FINRA information; and




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                      h. Numerous assertions that Mr. Kimbril behaved improperly when he

                          worked at TD Ameritrade.

        13.        No independent investigation was conducted to verify these allegations.

        14.        The article further alludes to an alleged sexual assault by Mr. Kimbril.

        15.        Ms. Kotzian obtained sealed confidential information with respect to those

allegations.

        16.        Mr. Kimbril was never convicted of any sexual assault charges and the

Court ordered all records sealed.

        17.        Defendants, however, recklessly published those allegations.

        18.        At the time of publication, Mr. Kimbril was working in Nebraska for Boston

Mutual Life Insurance Company.

        19.        Ms. Kotzian sent a link of the article in question to Boston Mutual and

Plaintiff’s direct supervisor.

        20.        Ms. Kotzian publically discussed the article on her various social media

accounts.

        21.        As a result of the article, Mr. Kimbril was forced to resign his position with

Boston Mutual.

        22.        As a direct result of the article and its continued presence on Defendant

SOURCE MEDIA, LLC’s web pages, Plaintiff is no longer able to obtain professional

employment.

        23.        Online searches of Plaintiff’s name directly associate him with the term

“serial killer.”




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       24.     Pursuant to Nebraska Rev. Stat. § 25-840.01, Plaintiff demanded

Defendants to issue a correction of the false and defamatory statements as attached in

Exhibit “A” hereto.

       25.     Defendants failed to issue the correction.

       26.     Defendants published and/or posted personal information about Plaintiff

designed for the commercial purposes of monetizing its social media/business accounts in

violation of Neb. Rev. Stat. § 20-202.

       27.     Defendants published article constitute intentional interference with the

Plaintiff's interest in solitude or seclusion, either as to his person or private affairs or

concerns, of a kind that would be highly offensive to a reasonable person in violation of

Neb. Rev. Stat. § 20-203.

       11. Defendants published comments are intended to put Plaintiff before the public

in a false light because such comments and statements are highly offensive to a reasonable

person and Defendant had knowledge of or acted in reckless disregard as to the falsity of

the publicized matter and the false light in which the other would be placed in violation of

Neb. Rev. Stat. § 20-204.

       12.    That the statements and comments published on Defendant’s social media

accounts with respect to Plaintiff are false.

       13.    That the statements and comments published on Defendant’s social media

accounts are made with malice and in reckless disregard for the truth.

       14.   That these statements constitute defamation, slander, and slander per se.

       15. That because of the defamatory and slanderous statements, invasion of privacy,

false light claims, Plaintiff suffered general damages, physical damages, emotional




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damages, and damages to his reputation in the amount in excess of $100,000.00 as well as

special damages in an amount of $7,750.00 per month beginning November 1, 2021 and

continuing thereafter.

       WHEREFORE, Plaintiff prays for general damages and damages to his reputation

against the Defendant in the amount of $750,000.00 for defamation, slander, slander per

se, libel, libel per se, invasion of privacy and false light claims as well as special damages

in an amount of $7,750.00 per month beginning November 1, 2021 and continuing

thereafter. Plaintiff further prays that the Court issue an order enjoining the Defendants to

remove all false and defamatory posts from their affiliated websites and any electronic or

written publication. regarding the Plaintiff. Finally, Plaintiff prays that the costs of this

action be taxed to the Defendants and for such further relief as allowed by law.

       DATED: October 13, 2022


                                                 SAMUEL L. KIMBRIL, Plaintiff


                                       By:       s/ Michael F. Polk
                                                 Michael F. Polk, #21526
                                                 WATKE POLK & SENA, LLP
                                                 2712 S 87th Ave
                                                 Omaha, NE 68124
                                                 Telephone: (402) 884-7444
                                                 E-mail: polk@wpslawfirm.com
                                                 Attorney for Plaintiff




                                             5
  8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 8 of 21 - Page ID # 12

                                                                                             EXHIBIT
                                                                                                  A
Joan Watke, PC, LLO
Michael F. Polk, LLC                                                                   Michael F. Polk, LLC
Jerry J. Sena, PC, LLO                                                             polk@WPSlawfirm.com


                                         November 10, 2021
Lynnley Browning
Chana Schoenberger
Arizent, LLC
Source Media, LLC
One State Street Plaza, 27th floor
New York, NY 10004

        RE:     October 17, 2021 article on financial-planning.com

Ms. Browning, Ms. Schoenberger, and Companies:

         This office represents Samuel Kimbril and this letter concerns the defamatory and false
article published on October 17, 2021 written by Ms. Browning. The article at issue is published on
the financial-planning.com website. The false and libelous comments include but are not limited to:

        1.   Mr. Kimbril is “Serial-Level Crazy”;
        2.   Allegations that Mr. Kimbril harassed Ms. Kotzian while employed at TD Ameritrade;
        3.   Allegations of an arrest of Mr. Kimbril that place him in a false light;
        4.   Allegations that Mr. Kimbril threatened to physically assault Ms. Kotzian;
        5.   Publishing information from usbondsman.com that place Mr. Kimbril in a false light;
        6.   Assertions that Mr. Kimbril should be on a sex offender registry;
        7.   Assertions that Mr. Kimbril might have failed to properly report FINRA information; and
        8.   Numerous assertions that Mr. Kimbril behaved improperly when he worked at TD
             Ameritrade.

It appears no independent investigation was pursued to verify Ms. Kotzian’s allegations.
Your publication has a fundamental lack of understanding of why court records may be
sealed. Your article places Mr. Kimbril in a false light and is published with a reckless
disregard for the truth. Pursuant to Nebraska Rev. Stat. § 25-840.01, demand is hereby
made that you issue a correction of these statements, specifically disavow these
comments, and/or remove the article in its entirety. Govern yourself accordingly.

                                                   Sincerely yours,



                                                    Michael F. Polk



____________________________________________________________________________________

   2712 South 87th Avenue | Omaha, NE 68124-3045 | p 402-884-7444 | f 402-884-7443 | www.WPSlawfirm.com
8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 9 of 21 - Page ID # 13
8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 10 of 21 - Page ID # 14




          IN THE DISTRICT COURT OF SARPY COUNTY, NEBRASKA

 SAMUEL L. KIMBRIL,                             )     CI 22 -
                                                )
        Plaintiff,                              )
                                                )
 vs.                                            )     PRAECIPE
                                                )
 SOURCE MEDIA, LLC,                             )
 and LYNNLEY BROWNING,                          )
                                                )
        Defendants.                             )


        Please issue SUMMONS and copy of the COMPLAINT in the above-entitled
 cause, and deliver same for service as follows:

        CERTIFIED MAIL SERVICE:

 SOURCE MEDIA d/b/a ARIZENT
 CORPORATION SERVICE COMPANY
 251 LITTLE FALLS DRIVE
 WILMINGTON DE 19808

 LYNNLEY BROWNING
 2611 W ARGYLE ST APT 2
 CHICAGO, IL 60625-2717




                                                      SAMUEL L. KIMBRIL,
                                                      Plaintiff

                                                By:   s/ Michael F. Polk
                                                      Michael F. Polk, LLC #21526
                                                      WATKE POLK & SENA, LLP
                                                      2712 S. 87th Ave.
                                                      Omaha, Nebraska 68124
                                                      Telephone: (402) 884-7444
                                                      Facsimile: (402) 884-7443
                                                      e-mail: polk@wpslawfirm.com
                                                      Attorney for Plaintiff




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8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 11 of 21  - Page ID # 15
                                                           Filed in Sarpy District Court
                                                                               *** EFILED ***
                                                                      Case Number: D59CI220001762
                                                                        Transaction ID: 0019001711
                                                                 Filing Date: 10/13/2022 12:49:22 PM CDT
          IN THE DISTRICT COURT OF SARPY COUNTY, NEBRASKA

 SAMUEL L. KIMBRIL,                             )     CI 22 -
                                                )
        Plaintiff,                              )
                                                )
 vs.                                            )     PRAECIPE
                                                )
 SOURCE MEDIA, LLC,                             )
 and LYNNLEY BROWNING,                          )
                                                )
        Defendants.                             )


        Please issue SUMMONS and copy of the COMPLAINT in the above-entitled
 cause, and deliver same for service as follows:

        CERTIFIED MAIL SERVICE:

 SOURCE MEDIA d/b/a ARIZENT
 CORPORATION SERVICE COMPANY
 251 LITTLE FALLS DRIVE
 WILMINGTON DE 19808

 LYNNLEY BROWNING
 2611 W ARGYLE ST APT 2
 CHICAGO, IL 60625-2717




                                                      SAMUEL L. KIMBRIL,
                                                      Plaintiff

                                                By:   s/ Michael F. Polk
                                                      Michael F. Polk, LLC #21526
                                                      WATKE POLK & SENA, LLP
                                                      2712 S. 87th Ave.
                                                      Omaha, Nebraska 68124
                                                      Telephone: (402) 884-7444
                                                      Facsimile: (402) 884-7443
                                                      e-mail: polk@wpslawfirm.com
                                                      Attorney for Plaintiff




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  8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 12 of 21 - Page ID # 16
Image ID:
D00245846D59                                                     Doc. No.    245846

               IN THE DISTRICT COURT OF Sarpy COUNTY, NEBRASKA
                      Sarpy County Courthouse
                      1210 Golden Gate Dr, Ste 3141
                      Papillion           NE 68046 3087


Samuel Kimbril v. Source Media, LLC
                                                            Case ID: CI 22   1762


TO:   Source Media, LLC




You have been sued by the following plaintiff(s):

      Samuel Kimbril




Plaintiff's Attorney:      Michael F Polk
Address:                   2712 South 87th Avenue
                           Omaha, NE 68124-3045

Telephone:                 (402) 884-7444

A copy of the complaint/petition is attached. To defend this lawsuit, an
appropriate response must be served on the parties and filed with the office of
the clerk of the court within 30 days of service of the complaint/petition. If
you fail to respond, the court may enter judgment for the relief demanded in the
complaint/petition.

Nebraska Supreme Court Rule 2-208 requires individuals involved in a case who
are not attorneys and representing themselves to provide their email address to
the court in order to receive notice by email from the court about the case.
Complete and return the attached form to the court if representing yourself.


Date:   OCTOBER 13, 2022      BY THE COURT:
                                                    Clerk




                                 Page 1 of 2
  8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 13 of 21 - Page ID # 17
Image ID:
D00245846D59                                                      Doc. No.   245846

PLAINTIFF'S DIRECTIONS FOR SERVICE OF SUMMONS AND A COPY OF THE
COMPLAINT/PETITION ON:

         Source Media, LLC
         Corporation Service Company
         251 Littleton Falls Drive
         Wilmington, DE 19808

Method of service:   Certified Mail

You are directed to make such service within ten days after the date of issue,
and file with the court clerk proof of service within ten days after the signed
receipt is received or is available electronically, whichever occurs first.




                              Page 2 of 2
          8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 14 of 21 - Page ID # 18


                                                                        Doc. No.   245846

                              SARPY COUNTY DISTRICT COURT
                             Sarpy County Courthouse
                             1210 Golden Gate Dr, Ste 3141
                             Papillion           NE 68046 3087
    To:
    Case ID: CI 22    1762 Samuel Kimbril v. Source Media, LLC




To: Source Media, LLC                         From: Michael F Polk
    Corporation Service Company                     2712 South 87th Avenue
    251 Littleton Falls Drive                       Omaha, NE 68124-3045
    Wilmington, DE 19808
  8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 15 of 21 - Page ID # 19
Image ID:
D00245847D59                                                     Doc. No.    245847

               IN THE DISTRICT COURT OF Sarpy COUNTY, NEBRASKA
                      Sarpy County Courthouse
                      1210 Golden Gate Dr, Ste 3141
                      Papillion           NE 68046 3087


Samuel Kimbril v. Source Media, LLC
                                                            Case ID: CI 22   1762


TO:   Lynnley Browning




You have been sued by the following plaintiff(s):

      Samuel Kimbril




Plaintiff's Attorney:      Michael F Polk
Address:                   2712 South 87th Avenue
                           Omaha, NE 68124-3045

Telephone:                 (402) 884-7444

A copy of the complaint/petition is attached. To defend this lawsuit, an
appropriate response must be served on the parties and filed with the office of
the clerk of the court within 30 days of service of the complaint/petition. If
you fail to respond, the court may enter judgment for the relief demanded in the
complaint/petition.

Nebraska Supreme Court Rule 2-208 requires individuals involved in a case who
are not attorneys and representing themselves to provide their email address to
the court in order to receive notice by email from the court about the case.
Complete and return the attached form to the court if representing yourself.


Date:   OCTOBER 13, 2022      BY THE COURT:
                                                    Clerk




                                 Page 1 of 2
  8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 16 of 21 - Page ID # 20
Image ID:
D00245847D59                                                      Doc. No.   245847

PLAINTIFF'S DIRECTIONS FOR SERVICE OF SUMMONS AND A COPY OF THE
COMPLAINT/PETITION ON:

         Lynnley Browning
         2611 W Argyle St #2
         Chicago, IL 60625-2717

Method of service:   Certified Mail

You are directed to make such service within ten days after the date of issue,
and file with the court clerk proof of service within ten days after the signed
receipt is received or is available electronically, whichever occurs first.




                              Page 2 of 2
          8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 17 of 21 - Page ID # 21


                                                                        Doc. No.   245847

                              SARPY COUNTY DISTRICT COURT
                             Sarpy County Courthouse
                             1210 Golden Gate Dr, Ste 3141
                             Papillion           NE 68046 3087
    To:
    Case ID: CI 22    1762 Samuel Kimbril v. Source Media, LLC




To: Lynnley Browning                          From: Michael F Polk
    2611 W Argyle St #2                             2712 South 87th Avenue
                                                    Omaha, NE 68124-3045
   Chicago, IL 60625-2717
8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 18 of 21  - Page ID # 22
                                                           Filed in Sarpy District Court
                                                                         *** EFILED ***
                                                                Case Number: D59CI220001762
                                                                  Transaction ID: 0019048907
                                                           Filing Date: 10/25/2022 09:26:34 AM CDT
     8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 19 of 21 - Page ID # 23

                                Certificate of Service
    I hereby certify that on Tuesday, October 25, 2022 I provided a true and correct copy of the
Return-Summons/Alias Summons to the following:


Signature: /s/ Polk,Michael,F (Bar Number: 21526)
8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 20 of 21  - Page ID # 24
                                                           Filed in Sarpy District Court
                                                                         *** EFILED ***
                                                                Case Number: D59CI220001762
                                                                  Transaction ID: 0019048907
                                                           Filing Date: 10/25/2022 09:26:34 AM CDT
     8:22-cv-00401-JFB-MDN Doc # 1-1 Filed: 11/17/22 Page 21 of 21 - Page ID # 25

                                Certificate of Service
    I hereby certify that on Tuesday, October 25, 2022 I provided a true and correct copy of the
Return-Summons/Alias Summons to the following:


Signature: /s/ Polk,Michael,F (Bar Number: 21526)
